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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PERL FELBERBAUM,
                           Petitioner,                         ORDER
                    -against-
YAAKOV FELBERBAUM,                                             24-CV-02333 (PMH)

                           Respondent.


PHILIP M. HALPERN, United States District Judge:

        Perl Felberbaum (“Petitioner”) commenced this action by filing a petition on March 27,

2024 against Yaakov Felberbaum (“Respondent”). (Doc. 1). Petitioner also moved for an Order to

Show Cause seeking provisional relief similar to that identified in the Petition. (Doc. 3). On March

29, 2024, the Court issued an Order which permitted Petitioner to re-file a proposed Order to Show

Cause and Amended Petition to correct the deficiencies highlighted in the Court’s Order. (Doc. 4).

Almost three months later, on June 24, 2024, Petitioner attempted to file a document entitled

“Complaint/Petition” but the filing was rejected for various deficiencies by the Office of the Clerk

of Court. (Doc. 6; June 25, 2024 Doc. Entry). Nothing further has been filed to date.

        There is no indication on the docket that Respondent has been served, nor does it appear

that the issuance of a summons was ever requested by Petitioner, and Respondent has not appeared

in this case.

        Accordingly, pursuant to Fed. R. Civ. P. 4(m), this action will be dismissed without

prejudice unless, on or before July 15, 2024, Petitioner either: (i) files to the ECF docket proof of

service, indicating Respondent was served on or before June 25, 2024; or (ii) shows good cause in

writing for the failure to comply with Fed. R. Civ. P. 4(m).
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                                         SO ORDERED:

Dated:    White Plains, New York
          July 8, 2024

                                        PHILIP M. HALPERN
                                        United States District Judge




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